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WESTERN DISTRICT OF TENNESSEE F“_ED BY _M D.O.
WESTERN DIVISION /
HOME DESIGN SERVICES,
Plaintiffs,
v. Docket No. 03-2709

SPARKMAN HOME BUILDERS, LLC,
DANNY J. SPARKMAN, RICHARD L.
TILLMAN, AND ROBBIN TILLMAN,

Defendants.

 

ORDER OF COMPROMISE AND DISMISSAL WITH PREJUDICE
AS TO DEFENDANTS, SPARKMAN HOME BUILDERS, LLC
AND DAN`NY J. SPARKMAN ONLY

 

In this cause came the Plaintiff, Home Design Services, Inc. and the Defendants,
Sparkman Home Builders, LLC and Danny J. Sparkman, Who represented to the Court that all
matters, issues and controversies by and between them have been compromised and settled out
of Court, and that by virtue of said compromise and settlement agreement, the suit of the
Plaintiff, Home Design Services, Inc. as to the Defendants, Sparkman Home Builders, LLC and
Danny J. Sparkman ONLY is dismissed in bar of the right of the Plaintiff to re-institute said suit
against them.

It is therefore, ORDERED that the suit of the Plaintiff Home Design Services, Inc,
herein against the Defendants, Sparkman Home Builders, LLC and Danny J. Sparkman ONLY,
be and the same hereby is dismissed, With prejudice, in bar of the right of Plaintiff to re-institute
said suit against them.

Entered this the 13 day of Augu

 
 
   

  

ICE B. D NALD
ITED STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance 1

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APPROVED FOR ENTRY:

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Danny J. Sparkman

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CERTIFICATE OF SERVICE
I hereby certify that l have placed a true copy of the foregoing pleading in the United
S,W` AM§ i<$"i"
States Mail, first class postage, upon all counsel m this matter, on this the “___ day of M 2005 at

the following address:
Scott Kirkpatrick, 111

100 North Main, Suite 2900
Mernphis, Tennessee 38103
/'\/

Lauren Holloway

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:03-CV-02709 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

